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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                               FT. LAUDERDALE DIVISION

    DOUGLAS FELLER; JEFFRY HEISE;
    JOSEPH MULL, individually and on behalf
    of all others similarly situated,

                  Plaintiffs,                           Case No. 0:24-CV-61444-RAR

          v.

    ALLIANCE ENTERTAINMENT, LLC;                        Hon. Rodolfo A. Ruiz II
    and DIRECTTOU, LLC d/b/a Collectors’
    Choice Music, Critics’ Choice Video,
    Movies Unlimited, DeepDiscount, and
    WOW HD,

                  Defendants.


            MOTION TO DISMISS PLAINTIFF’S CLASS ACTION COMPLAINT
                  AND INCORPORATED MEMORANDUM OF LAW

                                    Claim of Unconstitutionality

         Defendants Alliance Entertainment, LLC (“Alliance”) and DirectToU, LLC (“DirectToU”;

  and together with Alliance, “Defendants”), by and through their undersigned counsel, hereby

  respectfully move this Court to dismiss the Class Action Complaint (“Complaint”) filed by

  Plaintiffs Douglas Feller, Jeffry Heise, and Joseph Mull (collectively, “Plaintiffs”) with prejudice.

  In support of thereof, Defendants state as follows:

                                          INTRODUCTION

         Defendants operate websites that offer music, movies, games, consumer electronics, and

  related products for purchase. Plaintiffs allege that they each purchased prerecorded video material

  from a website operated by Defendants and that Defendants shared their information with various

  third parties, allegedly in violation of the Video Privacy Protection Act (“VPPA”), 18 U.S.C.

  §§ 2710, et seq. The VPPA, however, cannot withstand First Amendment scrutiny, and even if it
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  could, Plaintiffs have not sufficiently alleged that Defendants’ conduct violated the VPPA. Thus,

  the Complaint should be dismissed with prejudice.

                                           BACKGROUND

          Plaintiffs allege that Alliance “is engaged in the business of wholesale, retail, and direct-

  to-consumer distribution and fulfillment of home entertainment products, including music,

  movies, games, and consumer electronics” and that DirectToU, an affiliate of Alliance, “operates

  as a wholesale distribution and retail sales business involving the sale of entertainment products,

  including music, movies, video games, electronics, toys, and other prerecorded video materials.”

  (Compl. ¶¶ 38-39.) Plaintiffs further allege that “Defendants sell a wide variety of prerecorded

  video materials, including movies and television shows on DVD and Blu-Ray, to consumers on

  their network of websites, which include websites belonging to the following brands: Collectors’

  Choice Music (ccmusic.com), Critics’ Choice Video (ccvideo.com), Movies Unlimited

  (moviesunlimited.com), DeepDiscount (deepdiscount.com), and WOW HD (wowhd.co.uk).” (Id.

  at ¶ 75.)

          Plaintiff Douglas Feller alleges that he “purchased prerecorded video material from

  Defendants’ online catalog by requesting and paying for such material on Defendants’ website

  Critic’s Choice (located at ccvideo.com).” (Id. at ¶ 13.) Plaintiff Jeffrey Heise alleges that he

  “purchased prerecorded video material from Defendants’ online catalog by requesting and paying

  for such material on Defendants’ website, Critics’ Choice.” (Id. at ¶ 22.) Plaintiff Joseph Mull

  alleges that he “purchased prerecorded video material from Defendants’ online catalog by

  requesting and paying for such material on Defendants’ Movies Unlimited website (located at

  moviesunlimited.com).” (Id. at ¶ 31.) Plaintiffs further allege that they each have Facebook

  accounts with unique Facebook IDs. (Id. at ¶¶ 12, 21, 30.)




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         The Complaint alleges a single cause of action for violation of the VPPA. Specifically,

  Plaintiffs allege that Defendants violated the VPPA by: (1) disclosing Plaintiffs’ names, postal

  addresses, e-mail addresses, gender, ages, and incomes and the specific titles of the video materials

  they purchased “to data miners, data appenders, data aggregators, marketing companies, and/or

  other third parties”; and (2) sharing Plaintiffs’ Facebook IDs, the titles of the video materials they

  purchased, and the URL where the video is available for purchase, which they claim is personally

  identifiable information. (Id. at ¶¶ 17, 26, 35.) Plaintiffs allege this conduct violates the VPPA

  because Defendants allegedly did not receive Plaintiffs’ consent allowing the disclosure of

  Plaintiffs’ personally identifiable information to third parties. (Id. at ¶¶ 99-100.) Plaintiffs seek to

  assert their claims on behalf of two putative classes. (Id. at ¶ 85.)

                                              ARGUMENT

         Plaintiffs’ claim for violation of the VPPA fails both because the VPPA places an

  unconstitutional burden on free speech and because the Complaint does not sufficiently state a

  claim upon which relief can be granted.

  I.     The VPPA Violates The First Amendment.

         The Complaint should be dismissed because it seeks to enforce a statute that violates the

  First Amendment. Laws that “burden” speech are unconstitutional unless they satisfy First

  Amendment scrutiny. Sorrell v. IMS Health Inc., 564 U.S. 552, 564 (2011). The VPPA imposes

  severe speech restrictions that cannot be justified.

         A.       The VPPA Imposes Suspect Burdens.

         To begin, the VPPA triggers First Amendment scrutiny because it places speaker- and

  content-based restrictions on the dissemination of information. Wollschlaeger v. Governor, Fla.,

  848 F.3d 1293, 1307-08 (11th Cir. 2017). A burden is speaker-based if it applies only to some

  classes of speakers (such as “doctors and medical professionals”) and content-based if its


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  application turns on the message of regulated speech (such as if it applies “only on the topic of

  firearm ownership”). Id.

         Here, the VPPA applies only to a “video tape service provider” and prohibits only the

  disclosure of “personally identifiable information concerning any consumer of such provider.” 18

  U.S.C. § 2710(b)(1). Its dictates are speaker-based because they “target[s] those speakers” within

  their gateway definitions and no others, Sorrell, 564 U.S. at 565, and content-based because its

  applicability “depend[s] entirely on the communicative content of the” disclosures. Reed v. Town

  of Gilbert, Ariz., 576 U.S. 155, 164 (2015). The Supreme Court in Sorrell held that a Vermont law

  restricting “the sale, disclosure, and use of prescriber-identifying information,” which pharmacies

  receive when processing prescriptions, was both content- and speaker-based and triggered

  “heightened scrutiny.” 564 U.S. at 571. The VPPA likewise forbids specified speakers from

  disclosing information that can be identified only by its content. First Amendment scrutiny applies.

         B.      The VPPA Fails First Amendment Scrutiny.

         First Amendment scrutiny is not satisfied. As an initial matter, strict scrutiny is the

  applicable standard. Although Sorrell declined to decide whether that standard or the intermediate

  standard under Central Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of New York, 447 U.S.

  557 (1980), applies to content- and speaker-based commercial speech, 564 U.S. at 571, the Court

  more recently applied strict scrutiny to a ban on robocalls, reasoning that, under its “precedents, a

  ‘law that is content based’ is ‘subject to strict scrutiny.’” Barr v. Am. Ass’n of Pol. Consultants,

  Inc., 591 U.S. 610, 621 (2020) (quoting Reed, 576 U.S. at 165).

         In any event, a court “need not decide whether strict scrutiny applies,” if a law does not

  survive constitutional scrutiny under either standard. See Wollschlaeger, 848 F.3d at 1308. That is

  the case here. “Under a commercial speech inquiry” it must be shown “at least that the statute

  directly advances a substantial governmental interest and that the measure is drawn to achieve that


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  interest.” Sorrell, 564 U.S. at 572. This test is often expressed in four inquiries: (1) whether the

  speech at issue concerns “lawful activity” and is not “misleading,” (2) whether the government

  interest in burdening speech is “substantial,” (3) whether “the regulation directly advances the

  asserted government interest,” and (4) whether the regulation is “more extensive than is necessary

  to serve that interest.” FF Cosms. FL, Inc. v. City of Miami Beach, 866 F.3d 1290, 1298 (11th Cir.

  2017). The VPPA fails each inquiry.

         First, it does not prevent misleading speech or address illegal businesses.

         Second, no substantial interest supports the severe speech prohibitions. “[T]he government

  cannot satisfy the second prong of the Central Hudson test by merely asserting a broad interest in

  privacy,” but must also “specify the particular notion of privacy and interest served” and

  demonstrate “that the state has considered the proper balancing of the benefits and harms of

  privacy.” U.S. W., Inc. v. F.C.C., 182 F.3d 1224, 1234-35 (10th Cir. 1999). Congress’s record for

  the VPPA specified that the statute protect protects the notion of privacy defined by the First and

  Fourth Amendments. S. Rep. No. 100-599, at 4-5 (1988), as re-printed in 1988 U.S.C.C.A.N.

  4342-4. But both Amendments constrain only state action. See United States v. Sparks, 806 F.3d

  1323, 1334 (11th Cir. 2015); Wooten v. La Salle Corr., No. 7:22-CV-000148 (WLS), 2024 WL

  4132331, *6 (M.D. Ga. Sept. 10, 2024). So the VPPA, which burdens private businesses, does not

  “extend” their rights, S. Rep. No. 100-599 at 2. And the choice to prohibit private speech in the

  name of “intellectual freedom,” id. at 4, makes little sense.

         The legislative history also cites an incident “when a weekly newspaper in Washington

  published a profile of Judge Robert H. Bork based on the titles of 146 films his family had rented

  from a video store” and one other incident where “the attorney for a women in a child custody

  proceeding made an informal request for the records of every film rented by her husband in an




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  effort to show that, based on his viewing habits, he was an unfit father.” Id. at 5-6. But simply

  reciting two incidents—out of innumerable video rentals nationwide—does not “show that the

  dissemination of the information desired to be kept private would inflict specific and significant

  harm on individuals.” U.S. West, 182 F.3d at 1235. In neither incident did any harm arise. Judge

  Bork’s Supreme Court nomination failed because of his judicial philosophy, not his video rentals,

  and there is no evidence that the attorney in the custody proceeding obtained the film records.1

  Simply put, the legislative history cites not one incident of harm arising from disclosure of video

  rentals. See Rubin v. Coors Brewing Co., 514 U.S. 476, 487 (1995) (explaining that the burden “is

  not satisfied by mere speculation or conjecture”) (quotation marks omitted).

          Third, even if a privacy interest were sufficient, the VPPA does not “directly advance[]” it.

  Sorrell, 564 U.S. at 572. “There must be a ‘fit between the legislature’s ends and the means chosen

  to accomplish those ends.’” Id. The VPPA is unconstitutionally underinclusive. See Greater New

  Orleans Broad. Ass’n, Inc. v. United States, 527 U.S. 173, 190 (1999). “While surprising at first

  glance, the notion that a regulation of speech may be impermissibly underinclusive is firmly

  grounded in basic First Amendment principles.” City of Ladue v. Gilleo, 512 U.S. 43, 51 (1994)

  (footnote omitted). Underinclusive laws present “risks of viewpoint and content discrimination,”

  and “[t]hey may diminish the credibility of the government’s rationale for restricting speech in the

  first place.” Id. at 52.

          The VPPA protects privacy in the most selective and irrational of ways. It protects only

  “video” purchases, rentals, or deliveries, 18 U.S.C. § 2710(a)(3), but not books, magazines, music,

  and pictures. “The failure to prohibit the disclosure of” purchases of such materials “makes no

  rational sense if the Government’s true aim is to” protect intellectual privacy or guard against


  1
    Given substantial amounts of private information are exchanged daily in litigation discovery, it
  is hard to see what a litigation incident could say about an important privacy interest.

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  embarrassment from public disclosure of information people consume at home. Rubin, 514 U.S.

  at 488. Under the statute, renting Lassie activates fulsome statutory penalties if that rental is

  disclosed, but books, magazines, and photographs with sexual content (or any content) receive no

  protection. Likewise, because the statutes protect only “prerecorded” materials, 18 U.S.C.

  § 2710(a)(4), someone who watches livestreamed video content (no matter how embarrassing)

  receives none of the rights provided to those who watch prerecorded content (no matter how

  innocuous). The same video content will be unprotected on a first, live showing but may be

  protected on later showings. The VPPA is also selective in its application to some businesses, but

  not others. The statute applies to a video obtained from a business having “a focus” of video rental

  (e.g., Netflix) but not to the same video from a business without that focus (e.g., Target). In re

  Vizio, Inc., Consumer Priv. Litig., 238 F. Supp. 3d 1204, 1221-22 (C.D. Cal. 2017). And it

  selectively reaches renters, purchasers, and subscribers, but no one else. Tawam v. Feld Ent. Inc.,

  684 F. Supp. 3d 1056, 1061 (S.D. Cal. 2023). This burdens some speakers, but not others, for no

  reason whatsoever.

         Finally, Congress could have passed a privacy law that protects privacy in a rational manner

  without this selectivity, see Gale Force Roofing & Restoration, LLC v. Brown, 548 F. Supp. 3d

  1143, 1160 (N.D. Fla. 2021), such as by applying directives to all content for which an intellectual-

  privacy interest might reasonably attach, and all suppliers of that content. Instead, Congress picked

  out the case of a single judicial nominee, drew up a law to prevent that case from reoccurring, and

  protected practically nothing else. This is so irrational that the VPPA will not even do that: if all

  internet images a future judicial nominee ever viewed are made public, the statutes invoked here

  will say nothing about that—even though that would be no different from the Bork incident that

  inspired the VPPA. That is no way to protect privacy, and it does not justify severe speech burdens.




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  II.    Alternatively, The Complaint Fails To Sufficiently Allege A VPPA Claim.

         To survive a motion to dismiss pursuant to Rule 12(b)(6), a complaint must plead “enough

  facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

  544, 570 (2007). A court assessing the sufficiency of a complaint must disregard legal labels or

  conclusions, which are not entitled to the presumption of the truth. Ashcroft v. Iqbal, 556 U.S. 662,

  663 (2009). Instead, the court must examine only the well-pleaded factual allegations, if any, “and

  then determine whether they plausibly give rise to an entitlement to relief.” Id. at 679. The

  Complaint fails to state a claim for two reasons: (1) Plaintiffs do not allege they suffered any actual

  damages; and (2) Plaintiffs do not sufficiently allege Defendants knowingly disclosed Plaintiffs’

  personally identifiable information as required to state a claim under the VPPA.

         A.      Plaintiffs Fail to Allege Actual Damages.

         Under the VPPA, a court may award “actual damages but not less than liquidated damages

  in an amount of $2,500.” 18 U.S.C. 2710(c). While the Eleventh Circuit has addressed whether a

  procedural violation of the VPPA is sufficient to constitute an injury-in-fact for purposes of

  Article III standing, Perry v. Cable News Network, Inc., 854 F.3d 1336, 1341 (11th Cir. 2017), it

  has not considered whether a plaintiff is required to prove actual damages to be entitled to statutory

  minimum damages under the statute. The plain language of the VPPA indicates that Congress only

  intended to compensate for actual injury, and thus, when, as here, the Plaintiffs do not allege any

  actual damages, their Complaint should be dismissed for failure to state a claim upon which relief

  can be granted.

         The remedial provision of the VPPA provides:

         (c) Civil action.--(1) Any person aggrieved by any act of a person in violation of
         this section may bring a civil action in a United States district court.

         (2) The court may award—



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               (A) actual damages but not less than liquidated damages in an amount of
               $2,500;

               (B) punitive damages;

               (C) reasonable attorneys’ fees and other litigation costs reasonably incurred;
               and

               (D) such other preliminary and equitable relief as the court determines to be
                   appropriate.

  18 U.S.C. § 2710(c). When read in context, it is apparent that the language “but not less than

  liquidated damages in an amount of $2,500” is intended to limit the phrase actual damages. See

  Heyman v. Cooper, 31 F.4th 1315, 1319 (11th Cir. 2022) (“According to the rule of the last

  antecedent, a ‘limiting clause or phrase should ordinarily be read as modifying only the noun or

  phrase that it immediately follows.’”). Indeed, similar language found in the Privacy Act of 1974

  has been held to require proof of actual damages. Fanin v. U.S. Dep’t of Veterans Affs., 572 F.3d

  868, 872 (11th Cir. 2009) (“Obtaining monetary damages under § 552a(g)(4) requires proof of

  ‘actual damages.’”); see also 5 U.S.C. § 552a(g)(4) (“[T]he United States shall be liable to the

  individual in an amount equal to the sum of—(A) actual damages sustained by the individual as a

  result of the refusal or failure, but in no case shall a person entitled to recovery receive less than

  the sum of $1,000; . . . .”). To read the VPPA as permitting an award of $2,500 in the absence of

  actual damages requires substituting the conjunction “or” in the place of the phrase “but not less

  than.” See Dacostagomez-Aguilar v. U.S. Att’y Gen., 40 F.4th 1312, 1316 (11th Cir. 2022) (“The

  use of the disjunctive ‘or’ indicates alternatives and requires that those alternatives be treated

  separately.”) (internal quotation marks omitted). Such an interpretation is at odds with the plain

  language.2

  2
    While the Eleventh Circuit has not squarely addressed the meaning of the remedial provision of
  the VPPA, it previously addressed the meaning of a similar remedial provision found in the
  Driver’s Privacy Protection Act. See Kehoe v. Fid. Fed. Bank & Tr., 421 F.3d 1209, 1212-13 (11th
  Cir. 2005) (interpreting language providing, “(a) Cause of action.—A person who knowingly

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          Here, Plaintiffs have not alleged any actual damages that can open the door to the VPPA’s

   statutory minimum damages. The phrase “actual damages” is not defined in the VPPA. But the

   Eleventh Circuit has interpreted “actual damages” as permitting “recovery only for proven

   pecuniary losses and not for generalized mental injuries, loss of reputation, embarrassment or other

   non-quantifiable injuries.” Fanin, 572 F.3d at 872-73. The Black’s Law Dictionary definition from

   the time the VPPA was enacted further supports this conclusion. See United States v. Dawson, 64

   F.4th 1227, 1236 (11th Cir. 2023) (explaining that courts “look to the plain and ordinary meaning

   of the statutory language as it was understood at the time the law was enacted,” which can be

   determined “by looking at dictionaries in existence around the time of enactment”). The applicable

   edition of Black’s Law Dictionary defines “actual damages” as follows: “Real, substantial and just

   damages, or the amount awarded to a complainant in compensation for his actual and real loss or

   injury, as opposed on the one hand to ‘nominal’ damages, and on the other to ‘exemplary’ or

   ‘punitive’ damages. Synonymous with ‘compensatory damages’ and with ‘general damages.’”

   Damages, Black’s Law Dictionary (5th ed. 1979). The Complaint alleges nothing more than mere

   disclosure of Plaintiffs’ information, which is a non-quantifiable injury, and thus, does not satisfy

   the “actual damages” requirement. (Compl. ¶¶ 19, 28, 37.) See Fanin, 572 F.3d at 870, 875

   (holding that plaintiffs who names, social security numbers, birth dates, and healthcare files were

   contained on a stolen hard drive could not recover statutory damages under the Privacy Act of


   obtains, discloses or uses personal information, from a motor vehicle record, for a purpose not
   permitted under this chapter [18 U.S.C. §§ 2721 et seq.] shall be liable to the individual to whom
   the information pertains, who may bring a civil action in a United States district court. (b)
   Remedies.—The court may award—(1) actual damages, but not less than liquidated damages in
   the amount of $2,500; . . . .”). Kehoe is distinguishable because, unlike the VPPA, the subject
   statute did not include any requirement that an individual bringing a claim be “aggrieved by any
   act of a person in violation of” the VPPA, 18 U.S.C. § 2710(c), but rather provides an action may
   be brought by anyone whose personal information was knowingly obtained, disclosed, or used in
   violation of the Driver’s Privacy Protection Act. Kehoe, 421 F.3d at 1212-13. To the extent Kehoe
   and Fanin are in tension, Fanin, which was decided several years after Kehoe, presents the better
   approach.

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   1974 because they failed to show any pecuniary loss). Thus, Plaintiffs are not entitled to the

   statutory minimum damages, and their Complaint fails to state a claim.

          B.      Plaintiffs Fail To Allege Defendants Knowingly Disclosed Plaintiffs’ PII.

          To state a claim under the VPPA, plaintiffs must allege that defendant (1) is a video tape

   service provider (“VTSP”); (2) who knowingly disclosed to any person; (3) personally identifiable

   information (“PII”); (4) concerning any consumer. See 18 U.S.C. 2710(b)(1). Here, Plaintiffs fail

   to allege that Defendants knowingly disclosed Plaintiffs’ PII.

          Unless a VTSP has provided notice and obtained consent, it is prohibited from “knowingly

   disclos[ing], to any person, personally identifiable information concerning any consumer of such

   provider.” Robinson v. Disney Online, 152 F. Supp. 3d 176, 179 (S.D.N.Y. 2015); 18 U.S.C. §

   2710(b)(1). PII “includes information which identifies a person as having requested or obtained

   specific video materials or services from a video tape service provider.” 18 U.S.C. § 2710(a)(3).

   “[T]he information disclosed by a video tape service provider must, at the very least, identify a

   particular person—not just an anonymous individual—and connect this particular person with his

   or his viewing history.” Robinson, 152 F. Supp. 3d at 179. The Complaint fails to allege the

   disclosure of Plaintiffs’ information sufficient to satisfy the VPPA’s definition and fails to allege

   that Defendants acted knowingly. Thus, the Complaint should be dismissed for failure to

   sufficiently allege a claim for violation of the VPPA.

                  1.      Plaintiffs Do Not Allege That Their Video Watching Behavior Was
                          Disclosed Together With Any Information Linked Directly To Them.

          The most basic requirement of a VPPA claim is disclosure of “the kind of information that

   would readily permit an ordinary person to identify a specific individual’s video-watching

   behavior.” In re Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 267 (3d Cir. 2016) (emphasis

   added) (“Nickelodeon”); see also Edwards v. Learfield Commc’ns, LLC, 697 F. Supp. 3d 1297



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   (N.D. Fla. 2023) (dismissing VPPA claim because, among other reasons, the complaint did not

   plausibly allege how the information allegedly transmitted by the pixel would “‘readily permit[]

   an ordinary person to identify’ Plaintiffs’ video-watching behavior . . . or how Facebook can do

   that without ‘unforeseeable detective work.’”). PII “is that which, in its own right, without more,

   ‘link[s] an actual person to actual video materials.’” Ellis v. Cartoon Network, Inc., No. 1:14-CV-

   484-TWT, 2014 WL 5023535, at *3 (N.D. Ga. Oct. 8, 2014); see also Perry v. Cable News

   Network, Inc., No. 1:14-CV-02926-ELR, 2016 WL 4373708, at *4 (N.D. Ga. Apr. 20, 2016)

   (dismissing VPPA claim alleging defendants disclosed plaintiff’s “MAC address along with the

   viewing history tied to that address” because, among other reasons, the complaint did not “pled

   any facts to establish that the video history and MAC address were tied to an actual person and

   disclosed by Defendants”).3

          Plaintiffs’ first theory is that Defendants disclosed Plaintiffs’ names, postal addresses, e-

   mail addresses, gender, ages, and incomes and the specific titles of the video materials they

   purchased “to data miners, data appenders, data aggregators, marketing companies, and/or other

   third parties.” (Compl. ¶¶ 17, 26, 35.) But the “publicly available evidence” submitted by Plaintiffs

   contradicts these allegations. (Id. at 68.) Exhibit A references customer mailing lists—it does not

   state that the actual purchases of the individuals are included with the mailing lists. (See Compl,

   Ex. A.) Indeed, it states that “selections can be combined with lifestyle, age and income data,”


   3
     See also Nickelodeon, 827 F.3d at 285 (“We also hold that the Act’s prohibition on the disclosure
   of personally identifiable information applies only to the kind of information that would readily
   permit an ordinary person to identify a specific individual’s video-watching behavior.”); Robinson,
   152 F. Supp. 3d at 182 (“the most natural reading of PII suggests that it is the information actually
   ‘disclos[ed]’ by a ‘video tape service provider,’ 18 U.S.C. § 2710(b)(1), which must itself do the
   identifying that is relevant for purposes of the VPPA (literally, ‘information which identifies’)—
   not information disclosed by a provider, plus other pieces of information collected elsewhere by
   non-defendant third parties.”) (emphasis added); In re Hulu Priv. Litig., No. C 11-03764 LB, 2014
   WL 1724344, at *8 (N.D. Cal. Apr. 28, 2014) (“The plain language of the statute suggests, and the
   Senate Report confirms, that the statute protects personally identifiable information that identifies
   a specific person and ties that person to particular videos that the person watched.”).

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   none of which ties the information to the customer’s video history, as required to state a claim

   under the VPPA. Importantly, Exhibit A does not state that purchase information can be combined

   with any mailing lists, which would be necessary to tie the purchase to a particular person. (Id.)

          Plaintiffs’ second theory is that Defendants’ shared Plaintiffs’ Facebook IDs, the titles of

   the video materials they purchased, and the URL where the video is available for purchase with

   Meta. (Compl. ¶¶ 17, 26, 35.) But the information allegedly transmitted required “more” to link

   “an actual person to actual video materials,” which the Complaint acknowledges. See Ellis, 2014

   WL 5023535, at *3. (Compl. ¶ 79.) Facebook IDs are merely static digital identifiers, which are

   not PII.4 (See Compl. ¶ 79.) Static digital identifiers include such things as a unique device

   identifier that is “randomly generated when a user initially sets up his device and should remain

   constant for the lifetime of the user’s device.” Nickelodeon, 827 F.3d at 282 n.124 (citing Ellis v.

   Cartoon Network, Inc., 803 F.3d 1251, 1257 (11th Cir. 2015)). These random strings of numbers,

   when viewed by an ordinary person, do not identify who that person is. Rather, static digital

   identifiers “fall[] even further down the spectrum [of identifiable information]” because “[t]o an

   average person, an IP address or a digital code in a cookie file would likely be of little help in

   trying to identify an actual person.” Nickelodeon, 827 F.3d at 283 (emphasis added). Although

   some courts have since held Facebook ID is PII because it can be plugged into a Facebook URL

   and PII may be found on the resulting Facebook profile, this multi-step investigative process does

   not make the Facebook ID, shared through the “c_user” cookie, PII, as explained by the

   Nickelodeon court and multiple district courts in this circuit.


   4
     The Nickelodeon court noted “[m]ost [courts] have followed the rule adopted in In re Hulu
   Privacy Litigation” and “concluded that static digital identifiers that could, in theory, be combined
   with other information to identify a person do not count as ‘personally identifiable information’
   under the Act, at least by themselves.” 827 F.3d at 283 (collecting cases, including Robinson, 152
   F. Supp. 3d at 182-83; Eichenberger v. ESPN, Inc., No. 14–cv–463 (TSZ), 2015 WL 7252985, at
   *4-5 (W.D. Wash. May 7, 2015); Ellis, 2014 WL 5023535, at *3).

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          In Nickelodeon, the type of information at issue was plaintiff’s IP address, a user’s browser

   and operating system settings, and a computing device’s unique device identifier. Id. at 281-82.

   The court held “the expansion of privacy laws since the Video Privacy Protection Act’s passage

   demonstrates that, whatever else ‘personally identifiable information’ meant in 1988, it did not

   encompass” such static digital identifiers. Id. at 286.5 And unlike other statutes which “gave the

   FTC authority to expand the types of information that count as personally identifying under that

   law,” “[t]he Video Privacy Protection Act . . . does not empower an administrative agency to

   augment the definition of ‘personally identifiable information’ in light of changing

   circumstances or new technologies. The meaning of that phrase in the Act is, it would appear,

   more static.” Id. (emphasis added.) Further, and more importantly, Nickelodeon explained

   Congress’s subsequent 2013 amendment of the VPPA demonstrates Congress “was keenly aware

   of how technological changes have affected the original Act” and “[d]espite this recognition,

   Congress did not update the definition of personally identifiable information in the statute.” Id.

   (emphasis added). “What’s more, it chose not to do so despite . . . submitted written testimony

   that” specifically argued for “the addition of Internet Protocol (IP) Addresses and account

   identifiers to the definition of [personally identifiable information].” Id. at 288 (emphasis added).

          This Court should follow the detailed reasoning set forth by Nickelodeon, and recently

   adopted by Edwards, to hold the Facebook IDs Plaintiffs allege were disclosed are not PII because

   they are merely static digital identifiers automatically sent through a cookie file to a single



   5
     The court compared the VPPA to the Children’s Online Privacy Protection Act (“COPPA”),
   which was amended once by FTC rules in 2000 to define personal information to include “a
   persistent identifier, such as a customer number held in a cookie or a processor serial number,
   where such identifier is associated with individually identifiable information” and a second time
   in 2013 to expand the definition to include “‘any persistent identifier that can be used to recognize
   a user over time and across different Web sites or online services,’ including but not limited to ‘a
   customer number held in a cookie, an Internet Protocol (IP) address, a processor or device serial
   number, or unique device identifier.’” Id. at 287 (emphasis added).

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   company, which is nothing like the purposeful and public disclosures of actual names with video

   viewing history to the public at large. See id. at 286; Edwards, 2023 WL 8544765, at *8.6 For

   similar reasons, the Court should also hold that the mailing lists are not PII because they were not

   being offered for sale combined with video viewing history. Indeed, “[t]he classic example will

   always be a video clerk leaking an individual customer’s video rental history,” and “every step

   away from that 1988 paradigm will make it harder for a plaintiff to make out a successful claim.”

   Nickelodeon, 827 F.3d at 286.

                  2.      Plaintiffs Fail To Allege Defendants Knowingly Disclosed Their
                          Information.

          Beyond Plaintiffs’ failure to allege Defendants disclosed PII at all, they also do not allege

   Defendants knowingly disclosed their PII.

          With respect to the first theory, Plaintiffs do not allege the third parties were able to

   somehow compile the mailing lists with purchase information to link Plaintiffs to actual video

   materials, but even if the third parties were able to do so, the Complaint also fails to allege that

   Defendants knew the third parties could do so. To the contrary, Exhibit A states that mailing lists

   “can be combined with lifestyle, age and income data,” not purchase information. (Compl., Ex A.)

          With respect the second theory, Plaintiffs do not allege Defendants had any way to know

   whether they, or any other user, had a Facebook ID, much less what those Facebook IDs were, or

   whether Plaintiffs set their browser to allow Facebook cookies. Moreover, “even being



   6
     Plaintiffs do not allege that their own public Facebook profiles actually contain PII. See Heerde
   v. Learfield Commc’ns, LLC, No. 2:23-CV-04493-FLA (MAAX), 2024 WL 3573874, at *4 (C.D.
   Cal. July 19, 2024) (“Here, Plaintiffs fail to allege their PII was disclosed because they do not
   identify what information on their Facebook pages, if any, was viewable and could be used to
   identify them.”); see also Ghanaat v. Numerade Labs, Inc., No. 23-CV-00833, 2023 WL 5738391,
   at *4 (N.D. Cal. Aug. 28, 2023) (“plaintiffs’ allegations are inadequate because they do not allege
   their Facebook pages contain any personal information, such as their names or email addresses”);
   accord Solomon v. Flipps Media, Inc., No. 22CV5508JMAJMW, 2023 WL 6390055, at *3
   (E.D.N.Y. Sept. 30, 2023).

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   simultaneously logged in to Facebook is still not enough to necessarily prompt a Pixel

   transmission: a subscriber must also have accessed the prerecorded video on [Defendants’] website

   through the same web browser and device through which the subscriber (and not another user) was

   logged into Facebook.” Martinez v. D2C, LLC, No. 23-21394-CIV, 2024 WL 4367406, at *7 (S.D.

   Fla. Oct. 1, 2024) (emphasis added). Even more importantly, the Complaint alleges that Plaintiffs’

   own browsers disclose the information, not Defendants, which is how cookies generally work.

            For example, In re Facebook, Inc. Internet Tracking Litig. explains that “[w]hen a user

   creates a Facebook account, more than ten Facebook cookies are placed on the user’s browser.

   These cookies store the user’s login ID [Facebook ID], and they capture, collect, and compile the

   referer headers from the web pages visited by the user” and “continued to capture information after

   a user logged out of Facebook and visited other websites.” 956 F.3d 589, 596 (9th Cir. 2020); see

   also In re Meta Pixel Healthcare Litig., No. 22-cv-03580, 2022 WL 17869218 at *4 (Dec. 22,

   2022, N.D. Cal. 2022) (“Cookies are ‘small pieces of text used to store information on web

   browsers.’”); Mount v. PulsePoint, Inc., No. 13 CIV. 6592 (NRB), 2016 WL 5080131, at *1-2

   (S.D.N.Y. Aug. 17, 2016) (“Persistent cookies, commonly called ‘tracking cookies,’ are designed

   to remain after the user moves on to a different website or even after the browser is closed.

   Persistent cookies are set by third parties, including advertising companies that have placed ads on

   the first-party website.”). The dictionary defines “cookie” as “a small file or part of a file stored

   on a World Wide Web user’s computer, created and subsequently read by a website server, and

   containing personal information (such as a user identification code, customized preferences, or a

   record     of    pages     visited).”    See     “Cookie”      (df.    3)    https://www.merriam-

   webster.com/dictionary/cookie (emphasis added).




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          Plaintiff’s own allegations, the dictionary definition of “cookie,” and case law on third-

   party Facebook cookies make clear Plaintiff’s FID is stored on Plaintiff’s computer—not by

   Defendants—and subsequently transmitted to Facebook and Meta by Plaintiff’s own browser.

   Therefore, even if this Court were to find that FIDs are PII (which they are not), Defendants is not

   the one that transmits the FID to Meta. The VPPA only applies to an entity that “discloses” PII,

   18 U.S.C. § 2710(b)(1), and Defendants cannot possibly “disclose” something it never possesses

   in the first place. Therefore, the Complaint does not and cannot plausibly assert that Defendant

   knowingly disclosed Plaintiffs’ Facebook IDs, let alone their PII, to Facebook.

                                            CONCLUSION

          For the foregoing reasons, Defendants Alliance Entertainment, LLC and DirectToU, LLC

   respectfully request that this Court dismiss Plaintiffs’ Class Action Complaint with prejudice.7

                                     REQUEST FOR HEARING

          Defendants believe that a hearing would assist the Court in evaluating this motion, which

   raises significant issues about the constitutionality and reach of the VPPA. Defendants respectfully

   request that the Court schedule a one-hour hearing on this motion.

   Dated: November 1, 2024                            Respectfully submitted,

                                                      /s/ Joel Griswold
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   7
     Defendants filed an Expedited Motion to Stay Pending Preliminary Approval on October 24,
   2024, which remains pending. (ECF No. 36.) Defendants are filing this Motion to Dismiss today
   in compliance with existing court deadlines pending ruling on the Motion to Stay.

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                                         Attorneys for Defendants Alliance
                                         Entertainment, LLC and DirectToU, LLC,
                                         d/b/a Collectors’ Choice Music




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                                   CERTIFICATE OF SERVICE

          The undersigned attorney certifies that on November 1, 2024, the foregoing document was

   filed with the Clerk of the Court via the CM/ECF system, which will provide notice of such filing

   to all parties of record. The undersigned attorney further certifies that on November 1, 2024, the

   foregoing document was sent via U.S. Certified Mail, Return Receipt Requested, to:

          U.S. Attorney General
          Merrick B. Garland
          U.S. Department of Justice
          950 Pennsylvania Avenue, NW
          Washington, DC 20530-0001


                                                       /s/ Joel Griswold
                                                       Joel Griswold




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